          Case 2:13-cr-00286-MCE Document 22 Filed 11/05/13 Page 1 of 3



1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    BENJAMIN D. GALLOWAY, #214897
     Assistant Federal Defender
3    Designated Counsel for Service
     801 “I” Street, 3rd Floor
4    Sacramento, CA 95814

5    Attorney for Defendant
     JORGE LUIS SANCHEZ
6
7
8                             IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
                                                      )
11   UNITED STATES OF AMERICA,                        )   NO. 2:13-CR-00286 LKK
                                                      )
12                         Plaintiff,                 )   STIPULATION AND ORDER
                                                      )   TO CONTINUE STATUS CONFERENCE
13   v.                                               )
                                                      )   DATE:         December 10, 2013
14   ANTONIO VILLEGAS, et al.,                        )   TIME:         9:15 am
                                                      )   JUDGE:        Hon. Lawrence K. Karlton
15                         Defendants.                )
                                                      )
16
17            IT IS HEREBY STIPULATED by and between the parties hereto through their

18   respective counsel, TODD PICKLES, Assistant United States Attorney, attorney for Plaintiff,

19   GILBERT ROQUE, attorney for defendant ANTONIO VILLEGAS, JOHN MANNING,

20   attorney for defendant JESUS MASCORRO, DAN KOUKOL, attorney for defendant GENERO

21   SANTACRUZ, and BENJAMIN GALLOWAY, attorney for defendant JORGE SANCHEZ that

22   the status conference hearing date of November 5, 2013 be vacated, and the matter be set for

23   status conference on December 10, 2013 at 9:15 a.m.

24            The reason for this continuance is to allow defense counsel additional time to review

25   discovery with the defendants, investigate the facts of the case, and to negotiate resolutions to

26   this matter. The parties find that the ends of justice to be served by granting a continuance

27   outweigh the best interests of the public and the defendant in a speedy trial.

28
       Case 2:13-cr-00286-MCE Document 22 Filed 11/05/13 Page 2 of 3


1            Based upon the foregoing, the parties agree that the time under the Speedy Trial Act
2    should be excluded from the date of signing of this order through and including November 5,
3    2013 pursuant to 18 U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and Local
4    Code T4 based upon continuity of counsel and defense preparation.
5
6    Dated: October 31, 2013                            Respectfully submitted,
7                                                       HEATHER E. WILLIAMS
                                                        Federal Public Defender
8
                                                        /s/ Benjamin Galloway
9                                                       BENJAMIN GALLOWAY
                                                        Assistant Federal Defender
10                                                      Attorney for Defendant
                                                        JORGE SANCHEZ
11
12   Dated: October 31, 2013                            /s/ Gilbert Roque
                                                        GILBERT ROQUE
13                                                      Attorney for Defendant
                                                        ANTONIO VILLEGAS
14
15   Dated: September 26, 2013                          /s/ John Manning
                                                        JOHN MANNING
16                                                      Attorney for Defendant
                                                        JESUS MASCORRO
17
18   Dated: October 31, 2013                            /s/ Dan Koukol
                                                        DAN KOUKOL
19                                                      Attorney for Defendant
                                                        GENERO SANTACRUZ
20
21   Dated: October 31, 2013                            BENJAMIN WAGNER
                                                        United States Attorney
22
                                                        /s/ Todd Pickles
23                                                      TODD PICKLES
                                                        Assistant U.S. Attorney
24                                                      Attorney for Plaintiff
25
26
27
28

     !Unexpected
      United States v.End   of FormulaUnited
                       Villegas, et. Al           -2-
      Stipulation and Order
       Case 2:13-cr-00286-MCE Document 22 Filed 11/05/13 Page 3 of 3


1                                                  ORDER
2            UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
3    November 5, 2013, status conference hearing be continued to December 10, 2013, at 9:15 a.m.
4    Based on the representation of defense counsel and good cause appearing there from, the Court
5    hereby finds that the failure to grant a continuance in this case would deny defense counsel
6    reasonable time necessary for effective preparation, taking into account the exercise of due
7    diligence. The Court finds that the ends of justice to be served by granting a continuance
8    outweigh the best interests of the public and the defendant in a speedy trial. It is ordered that
9    time up to and including the December 10, 2013 status conference shall be excluded from
10   computation of time within which the trial of this matter must be commenced under the Speedy
11   Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4, to allow
12   defense counsel reasonable time to prepare.
13   Dated: November 4, 2013
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     !Unexpected
      United States v.End   of FormulaUnited
                       Villegas, et. Al             -3-
      Stipulation and Order
